\OOO\]O\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 18-16487-m|<n Doc 10 Entered 10/31/18 10:10:14 Page 1 of 17

CANDACE C. CARLYON, ESQ.
Nevada Bar No. 2666

TRACY M. O'STEEN, ESQ.
Nevada Bar No. 10949

CLARK HILL PLLC

3800 Howard Hughes Parkway, Suite 500
Las Vegas, NV 89169

Telephone: (702) 862-8300
Facsimile: (702) 862-8400
CCarlyon@ClarkHill.com
TOSteen@ClarkHill.com

[Proposed] Counselfor Debtor in Possession

UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
In re Case No. BK-18-16487-MKN
Chapter 11
CREDIT MANAGEMENT ASSOCIATION,
INC~ EMERGENCY MOTION (I) FOR
CONTINUED USE OF CASH

MANAGEMENT sYsTEM; (II) To
RETAIN PREPETITIoN BANK
ACCoUNTs; (III) To RETAIN
PREPETITIoN AGENCY ACCoUNTs;
(Iv) FoR CoNTINUED USE BUsINEss
FoRMs; AND (v) To WAIVE
CoMPLIANCE WITH sECTIoN 345(B)

Hearing Date: OST Pending
Hearing Time: OST Pending

 

 

Credit Management Association, Inc., a California corporation, as debtor and debtor in
possession (the “Debtor”), through its counsel the law firm of Clark Hill PLLC, hereby moves
the Court for entry of an order (1) authorizing the continued use of Debtor’s (i) existing cash
management system, (ii) prepetition bank accounts, (iii) prepetition agency accounts, and (iv)
business forms; and (2) Waiving compliance With the investment and deposit requirements of
section 345(b) of the Bankruptcy Code (the “Mi_on”).

The Motion is brought pursuant to 11 U.S.C. §§ 105, 345 and 363, and Federal Rules of

Bankruptcy Procedure (the “ ankruptcy Rules”) 6003 and 6004. The Motion is made and based

 

 

 

EMERGENCY MOTION FOR CONTINUED USE OF CASH MANAGEMENT SYSTEM;
TO RETAIN PREPETITION BANK ACCOUNTS AND AGENCY ACCOUNTS'
CONTINUED USE OF BUSINESSSI;:%I§`l}/{)Slél 1§4N513B'I)`O WAIVE COMPLIANCE WI?l`H

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

'L Case 18-16487-m|<n Doc 10 Entered 10/31/18 10:10:14 Page 2 of 17

on the points and authorities set forth below, the Omnibus Declaration of Kimberly Lamberty in
Support ofDebtor’s First Day Motions (the “Lamberty Declaration”), the papers and pleadings
on file herein, judicial notice of which is respectfully requested, and any arguments of counsel

entertained by the Court at the time of the hearing on the Motion.

Respectfully submitted this 31st day of October, 2018.

CLARK HILL PLLC

pf
ANDACE C. CARLYON, ESQ.

Nevada Bar No. 2666

TRACY M. O’STEEN, ESQ.

Nevada Bar No. 10949

3800 Howard Hughes Parkway, Suite 500
Las Vegas, NV 89169

 

[Proposea’] Counselfor Debtor in Possession

MEMORANDUM OF POINTS AND AUTHORITIES
I.
JURISDICTION AND VENUE
1. This Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and
1334 and Local Rule 1001(b)(1). This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).
Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.
2. Pursuant to Local Rule 9014.2, the Debtor consents to the entry of a final order by
the Bankruptcy Judge on the Motion.
II.
RELIEF REOUESTED
3. By this Motion, pursuant to sections 345, 363 and 364 of the Bankruptcy Code,
the Debtor respectfully requests authority to continue to use the Debtor’s existing cash
management system, prepetition bank accounts, agency accounts, and business forms, along with

a waiver of investment and deposit requirements under the Banl<ruptcy Code.

2

EMERGENCY MOTION FOR CONTINUED USE OF
CASH MANAGEMENT SYSTEM, ET AL.

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 18-16487-m|<n Doc 10 Entered 10/31/18 10:10:14 Page 3 of 17

III.
LMT_FM

4. On October 31, 2018 (the “Petition Date”), Debtor filed its voluntary petition for
relief under chapter ll of title ll of the United States Code (the “Bankruptcy Code”),
commencing its bankruptcy case (the “_Chapter 11 Case”). Debtor is authorized to operate its
business as debtor in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

5. No official committee of unsecured creditors has been formed, and no trustee has
been appointed. The Debtor is operating its business, managing its financial affairs, and
administering its estate as a debtor in possession pursuant to 11 U.S.C. §§ 1107 and 1108.

6. Additional information regarding the Debtor’s business, capital structure, and the
circumstances leading to the chapter 11 filing is contained in the Lamberty Declaration.

7. Debtor maintains the following bank accounts relating to its own funds (the

“Bank Accounts”):

 

 

Name Account Number Purpose
Union Bank ######0930 General Operations -
450 S. Figueroa Street Checking Account

Los Angeles, CA 90071

 

Bank of America, N.A. ####¢##¢##1 1 14 General Operations -
P.O. Box 25118 Credit Card Collections

Tampa, FL 33622-5118

 

 

 

 

 

8. In addition, Debtor holds funds as an agent in a number of matters. Primarily, but
not exclusively, these are matters in which Debtor serves as an assignee for the benefit of
creditors, and, in that capacity, holds funds in segregated accounts as listed on Exhibit 2 (the
“Agency Accounts”) attached to the Lamberty Declaration. In each instance, Debtor does not
have a legal interest in the funds held, except and until fees and expenses are owing to Debtor on

account of its work performed

3

EMERGENCY MOTION FOR CONTINUED USE OF
CASH MANAGEMENT SYSTEM, ET AL.

 

.|d

\]O`\U'l

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 18-16487-m|<n Doc 10 Entered 10/31/18 10:10:14 Page 4 of 17

9. The administrative burden of moving or transferring these Agency Accounts
would be significant and, since the funds are segregated from funds belonging to the Debtor, it is
submitted that changes to the Agency Accounts are not required by Debtor’s bankruptcy filing

10. To manage its business efficiently and seamlessly, the Debtor utilizes a cash
management system (the “Cash Maiggement System”) to collect and transfer funds generated by
its operations and disburse those funds to satisfy the obligations required to operate its business
The Cash Management System facilitates Debtor’s cash monitoring forecasting and reporting
In connection with the Cash Management System, the Debtor proposes to retain control over the
administration of its existing bank accounts

11. In the ordinary course of business prior to the Petition Date, the Debtor used the
Cash Management System to collect, transfer, and distribute funds generated by Debtor’s
business operations efficiently. In the ordinary course of business, the Debtor accurately
recorded such collections, transfers, and disbursements as they were made.

12. Generally, Debtor utilizes two accounts in connection with its Cash Management
System as follows: an Operating Account with Union Bank which is used for operations,
including payroll and for payroll tax associated disbursements; and an Account with Bank of
America which, as discussed below, is utilized for credit card collections, with excess funds
transferred to the Union Bank Operating Account.

13. A portion of Debtor’s customers use credit cards to make payments, and the Bank
of America Account is used by the Debtor to process payments made through credit card
companies Debtor has been advised that it would take a substantial amount of time to obtain a
new merchant account. Hence, if Debtor is not permitted to continue to use the merchant
account as debtor-in-possession, it could not offer its customers the service of allowing them to
pay their fees by credit card for whatever period of time it would take for Debtor to obtain new a
merchant account. The absence of credit card services even for a short period of time would
materially and adversely affect Debtor’s business As of the Petition Date, customer drafts
relating to such credit cards were in various stages of collection. To obviate the disruption that

might otherwise occur in the collection process, it is in the best interest of the estate to be

4

EMERGENCY MOTION FOR CONTINUED USE OF
CASH MANAGEMENT SYSTEM, ET AL.

 

\OOO\]O\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

l.ll

 

 

Case 18-16487-m|<n Doc 10 Entered 10/31/18 10:10:14 Page 5 of 17

authorized to continue to its ordinary course credit card transactions, rather than to close this
account and then open a new account.

14. Given the utility of the existing Cash Management System, and the confusion and
inefficiency that would be caused by trying to change it, Debtor requests approval to continue its
prepetition cash management practices in the post-petition period. Debtor’s Cash Management
System constitutes ordinary course, essential business practices providing significant benefits to
Debtor including, inter alia, the ability to (i) continue to make timely payroll and vendor
disbursements; (ii) continue collections on its credit card receipts', and (iii) reduce costs and
administrative expenses by facilitating the movement of funds and the development of more
timely and accurate account balance information Any disruption of the Cash Management
System could have an adverse impact upon Debtor’s value. Debtor will ensure that no
prepetition outstanding checks (other than approved employee and payroll related payments or
otherwise approved by this court) are honored, and will mark post-petition checks with the
designation “Debtor in Possession.”

15. Debtor will maintain its books and records relating to the Cash Management
System to the same extent the books and records were maintained before the Petition Date. As a
result, the Debtor will be able to accurately document and record the transactions occurring
within the Cash Management System for the benefit of all parties in interest. Based on the
foregoing, Debtor believes that maintenance of the existing Cash Management System is in the
best interests of its estate and all parties in interest. Therefore, Debtor seeks authority to maintain
and use its Cash Management System during its Chapter 11 Case.

IV.
LEGAL AUTHORITY
A. C ash Management Svstem.

Section 363(c)(1) of the Bankruptcy Code authorizes a debtor in possession to “use
property of the estate in the ordinary course of business without notice or a hearing.” 11 U.S.C. §
363(c)(1). The purpose of section 363(c)(1) of the Bankruptcy Code is to provide a debtor in

possession with the flexibility to engage in the ordinary course transactions required to operate

5

EMERGENCY MOTION FOR CONTINUED USE OF
CASH MANAGEMENT SYSTEM, ET AL.

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

§ Case 18-16487-m|<n Doc 10 Entered 10/31/18 10:10:14 Page 6 of 17

its business without unneeded oversight by their creditors or the court. See Mea’. Malpractice Ins.
Ass’n v. Hl`rsch (In re Lavl`gne), 114 F.3d 379, 384 (2d Cir. 1997); 117 re Enron Corp., No. 01-
16034 (ALG), 2003 WL 1562202, at *15 (Bankr. S.D.N.Y. Mar. 21, 2003); Chcmey v. Ojj?cial
Comm. of Unsecurea’ Creditors of erystal Apparel, Inc. (In re erystal Apparel, Inc.), 207 B.R.
406, 409 (S.D.N.Y. 1997). Included within the purview of section 363(0) is a debtor’s ability to
continue the “routine transactions” necessitated by a debtor’s cash management system. See
Ama’ura Nat’l Distrib. Co. v. Ama’ura Corp. (In re Ama'ura Corp.), 75 F.3d 1447, 1453 (10th Cir.
1996). Accordingly, Debtor seeks authority under section 363(0)(1) of the Bankruptcy Code to
continue the collection, concentration, and disbursement of cash pursuant to its Cash
Management System described above.

Section 363(b)(1) of the Bankruptcy Code provides, in pertinent part, that “[t]he trustee,
after notice and a hearing may use, sell, or lease, other than in the ordinary course of business,
property of the estate.” 11 U.S.C. § 363(b)(1). Section 105(a) of the Bankruptcy Code further
provides that “[t]he court may issue any order, process, or judgment that is necessary or
appropriate to carry out the provisions of this title.” 11 U.S.C. § 105(a). “Where the debtor
articulates a reasonable basis for its business decisions (as distinct from a decision made
arbitrarily or capriciously), courts will generally not entertain objections to the debtor’s
conduct.” Comm. ofAsbestos-Relatea’ Litigants v. JohnS-Manvl`lle Corp. (In re Johns-Manville
Corp.), 60 B.R. 612, 616 (Bankr. S.D.N.Y. 1986). When a valid business justification exists, the
law vests the debtor’s decision to use property out of the ordinary course of business with a
strong presumption that “‘in making a business decision the directors of a corporation acted on
an informed basis, in good faith and in the honest belief that the action taken was in the best
interests of the company.”’ Ojj€cial Comm. of Subora’inatea’ Bona’hola’ers v. Integratea’ Res,, Inc.
(In re lmegratea’ Res., Inc.), 147 B.R. 650, 656 (S.D.N.Y. 1992) (quotl`ng Smith v. ch Gorkom,
488 A.2d 858, 872 (Del. 1985)).

The Court may exercise its equitable powers to grant the relief requested herein. Section
105(a) of the Bankruptcy Code empowers the Court to “issue any order, process, or judgment

that is necessary to carry out the provisions of this title.” 11 U.S.C. § 105(a), Continuing the

6

EMERGENCY MOTION FOR CONTINUED USE OF
CASH MANAGEMENT SYSTEM, ET AL.

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 18-16487-m|<n Doc 10 Entered 10/31/18 10:10:14 Page 7 of 17

Cash Management System is vital to the efficient and economic administration of Debtor’s
Chapter ll Case. Therefore, it is within the Court’s equitable power under section 105(a) to
approve the continued use of the Cash Management System. These procedures are similar to
those employed by comparable corporate enterprises Moreover, the relief requested herein is
routinely granted in other chapter 11 cases. Similar authorization is appropriate in this Chapter
11 Case.
B. The Need to Honor Prepetition Obligations Related to the Cash Management

_S_HILL

In connection with its use of the Cash Management System, Debtor incurs periodic
service charges and other fees to the Banks for the maintenance of the Cash Management System
(the “Service Charges”). Debtor is unaware of any unpaid prepetition Service Charges as of the
Petition Date. However, out of abundance of caution, Debtor hereby requests authority to pay
the prepetition Service Charges, if any, that remain unpaid as of the Petition Date. Payment of
the prepetition Services Charges is in the best interests of Debtor, its estate and all parties in
interest as it will prevent any disruption to the Cash Management System. Because the Banks
have setoff rights with respect to the Service Charges, payment of any prepetition Service
Charges would not affect unsecured creditors and the issue of paying any prepetition Service
Charges would just be a matter of timing

Accordingly, by this Motion, Debtor seek authority, pursuant to sections 105(a) and
363(b) of the Bankruptcy Code and Bankruptcy Rule 6003 and 6004 to pay, at Debtor’s sole
discretion, the prepetition Service Charges, if any. Based on the foregoing Bankruptcy Rule
6003 has been satisfied. Furthermore, Debtor seeks a waiver of the notice requirements under
Bankruptcy Rule 6004(a) and the stay of the order authorizing the use, sale, or lease of property
under Bankruptcy Rule 6004(h) .
C. The Prepetition Bank Accounts.

As part of the Cash Management System, Debtor maintains two Bank Accounts with the
Debtor’s own funds. Debtor routinely deposits and withdraws funds from the Bank Accounts by

checks, wire transfers, and automated clearinghouse transfers Rigid adherence to the U.S.

7

EMERGENCY MOTION FOR CONTINUED USE OF
CASH MANAGEMENT SYSTEM, ET AL.

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 18-16487-m|<n Doc 10 Entered 10/31/18 10:10:14 Page 8 of 17

Trustee’s “Operating Guidelines and Reporting Requirements For Debtors in Possession and
Trustees” (the “Guidelines”) would require, as of the Petition Date, the closure of Debtor’s
prepetition bank accounts, the opening of new accounts, and the immediate printing of new
checks with a “Debtor in Possession” designation on them. Debtor believes, however, that its
transition to chapter 11 will be smoother, less costly, and more orderly, and disruption and harm
to its Cash Management System will be minimized, if the Bank Accounts are continued
following the commencement of this case with the same account numbers; provided, however,
that checks issued or dated prior to the Petition Date will not be honored absent a prior order of
the Court, and Debtor will print a stamp “Debtor in Possession” on all checks issued post-
petition.

Unless otherwise ordered by this Court, no Bank shall honor or pay any check issued on
account of a prepetition claim. The Banks may honor any checks issued on account of prepetition
claims only where this Court has specifically authorized such checks to be honored.
Furthermore, notwithstanding anything to the contrary in any other emergency and interim order
or other order of this Court, Debtor requests the Banks be authorized to accept and honor all
representations from Debtor as to which checks should be honored or dishonored consistent with
any order(s) of this Court, whether or not the checks are dated prior to, on, or subsequent to the
Petition Date. The Banks shall not be liable to any party for following Debtor’s instructions or
representations regarding which checks should be honored or for implementing the automatic
transfer of funds between its Bank Accounts.

By preserving business continuity and avoiding disruption and delay to Debtor’s
disbursement obligations, including payroll, that would necessarily result from closing the Bank
Accounts and opening new accounts, all parties in interest, including employees, vendors, and
customers, will be best-served. The confusion that would otherwise result, absent the relief

requested herein, would ill-serve Debtor’s rehabilitative efforts

8

EMERGENCY MOTION FOR CONTINUED USE OF
CASH MANAGEMENT SYSTEM, ET AL.

 

\lO'\Ul-|>Wl\.)

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 18-16487-m|<n Doc 10 Entered 10/31/18 10:10:14 Page 9 of 17

D. The Agencv And Collections Accounts.

In addition, and as discussed above, as part of its business operations the Debtor holds
funds as an agent in a number of matters, primarily but not exclusively, matters in which Debtor
serves as an assignee for the benefit of creditors In that capacity, Debtor holds funds in the
segregated Agency and Collection Accounts as listed on Exhibit 2 attached to the Lamberty
Declaration. ln each instance, Debtor does not have a legal interest in the segregated funds held,
except and until fees and expenses are owing to Debtor on account of work it performed The
administrative burden of moving or transferring these Agency Accounts would be significant
and, since the funds do not belong to the Debtor, it is submitted that changes to the Agency
Accounts are not required by Debtor’s bankruptcy filing
E. Business Forms.

In addition, to minimize expenses, Debtor further requests that it be authorized to
continue to use its correspondence and business forms, including but not limited to, multi-copy
checks, letterhead, envelopes, promotional materials, and other business forms (collectively, the
“Business Forms”), substantially in the forms existing immediately before the Petition Date,
without reference to its status as debtor in possession. Because most of Debtor’s payments were
made out of its bank accounts at Union Bank, to the extent they use those bank accounts for
payroll and vendor payments, it is requesting to continue to use such check stock; provided,
however, that Debtor shall commence marking “Debtor in Possession” on its own existing check
stock and wire transfer instructions instead of having new stock printed with such marking

If Debtor is not permitted to maintain and utilize its current Bank Accounts and its
existing Business Forms, including check stock, the resultant prejudice will include significant
(i) disruption to the Debtor’s ordinary financial affairs and business operations, (ii) delay in the
administration of Debtor’s estate, and (iii) cost to the estate to set up new systems, open new
accounts, print new business forms, and print new checks
F. Investment and Deposit' Requirements.

Additionally, the Debtor requests waiver of strict application of the requirements of

section 345 of the Bankruptcy Code. Section 345(a) of the Bankruptcy Code permits a debtor to

9

EMERGENCY MOTION F()R CONTINUED USE OF
CASH MANAGEMENT SYSTEM, ET AL.

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 18-16487-m|<n Doc 10 Entered 10/31/18 10:10:14 Page 10 of 17

deposit or invest the money of a bankruptcy estate in a manner that will “yield the maximum
reasonable net return on such money, taking into account the safety of such deposit or
investment.” 11 U.S.C. § 345(a). To the extent such deposits or investments are not “insured or
guaranteed by the United States or by a department, agency or instrumentality of the United
States or backed by the full faith and credit of the United States,” section 345(b) of the
Bankruptcy Code requires that a debtor obtain from the entity with which the money is deposited
(a) a bond in favor of the United States secured by the undertaking of an adequate corporate
surety or (b) a deposit of certain governmental securities 11 U.S.C. § 345(b).

A court is authorized to relieve a debtor in possession of the deposit and investment
restrictions “for cause.” 11 U.S.C. § 345(b)(2). Here, Debtor’s Bank Accounts are maintained at
banks that have been approved by the U.S. Trustee as authorized bank depositories in this
District. However, it is possible that some of its Bank Accounts do or will contain funds in
excess of the amounts insured by the F ederal Deposit lnsurance Corporation (the “M”). To
the extent funds in the Bank Accounts exceed the amounts insured by the FDIC, the Debtor
believes that such amounts will be secure. Among other considerations the Banks are highly
rated and secure federally chartered banks subject to supervision by federal banking regulators,
and Debtor retains the right to remove funds held at such banks

As noted above, the financial institutions at which the Debtor maintains its Bank
Accounts are financially stable banking institutions Thus, good cause exists to waive the
investment and deposit restrictions under section 345(b) of the Bankruptcy Code, subject to the
limitations set forth below to the extent that the Debtor's Bank Accounts do not comply. The
Debtor respectfully requests authority to maintain its cash in the Bank Accounts in a safe and
prudent manner, in accordance with its existing practices

Courts in this district have granted relief similar to the relief sought in the Motion in other
cases when appropriate to lessen the burden on the debtors See, e.g., In re Lucky Dragon Hotel
& Casino, LLC, BK-S-18-10792-leb, Dkt. #77; In re Kz`ttusamy, LLP, BK-S-15-13868-abl, Dkt.
#163; In re Statz`ons Casinos, Inc., BK-S-09-52477-GWZ, Dkt. #50; In re 155 East Tropz`cana,

10

EMERGENCY MOTION FOR CONTINUED USE OF
CASH MANAGEMENT SYSTEM, ET AL.

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 18-16487-m|<n Doc 10 Entered 10/31/18 10:10:14 Page 11 of 17

LLC, BK-S-11-22216-BAM, Dkt. #55. The Debtor respectfully submits that similar relief is

appropriate in this Chapter 11 Case.

V.
CONCLUSION

Based on the above, Debtor respectfully requests that the Court enter an order in
substantially the form as attached hereto as Exhibit 1, thereby granting Debtor (i) the authority to
continue to operate the Cash Management System, including to fund the operations of Debtor in
the ordinary course of business, consistent with its prepetition practices, as modified herein, (ii)
the authority to honor certain prepetition obligations related to the use of the Cash Management
System, (iii) the authority to retain its prepetition Bank Accounts; (iv) the authority to retain
Agency and Collection Accounts; (v) the authority to maintain existing business forms, and (vi)
a waiver of compliance with section 345 of the Bankruptcy Code. Debtor also requests such
other and further relief as is just and proper.

Respectiitlly submitted this 31st day of October, 2018.

CLARK HILL PLLC
[/~/"\
CANDACE C. CARLYON, ESQ.
Nevada Bar No. 2666
TRACY M. O’STEEN, ESQ.
Nevada Bar No. 10949

3800 Howard Hughes Parkway, Suite 500
Las Vegas, NV 89169

 

[Proposed] Counselfor Debtor in Possession

11

EMERGENCY MOTION FOR CONTINUED USE OF
CASH MANAGEMENT SYSTEM, ET AL.

 

Case 18-16487-m|<n Doc 10 Entered 10/31/18 10:10:14 Page 12 of 17

EXHIBIT 1

EXHIBIT 1

Case 18-16487-m|<n Doc 10 Entered 10/31/18 10:10:14 Page 13 of 17

CANDACE C. CARLYON, ESQ.
Nevada Bar No. 2666

TRACY l\/l. O'STEEN, ESQ.
Nevada Bar No. 10949

CLARK HILL PLLC

3800 Howard Hughes Parkway, Suite 500
Las Vegas, NV 89169

Telephone: (702) 862-8300
Facsimile: (702) 862-8400
CCarlyon@ClarkHill.com
TOSteen@ClarkHill.com

[Pr()posed] Counsel_/i)r Debtor 177 Possession

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

111 re Case No. BK-18-16487-l\/1KN
Chapter 11

CREDIT l\/IANAGEMENT ASSOCIATION,

lNC. Hearing Date: OST Pending
Hearing Time: OST Pending

 

INTERIM ()RDER GRANTING EMERGENCY MOTI()N (I) FOR C()NTINUED USE
OF DEBTOR’S EXISTING CASH MANAGEMENT SYSTEM, (II) TO RETAIN
PREPETITION BANK ACCOUNTS, (III) TO RETAIN PREPETITION AGENCY
ACCOUNTS, (IV) TO USE EXISTING BUSINESS FORMS; AND (V) TO WAIVE
COMPLIANCE WITH THE INVESTMENT AND DEPOSIT REQUIREMENTS OF
SECTION 345 OF THE BANKRUPTCY CODE

The E)'nergency Motionfo)" ()m’er ( 1 ) Aurhorz`zing Continued Use ()fDebtor’S (l) Existing

Cash Mcmagemem Syslem, (ii) Prepelz'lion Bank Accounts (iii) Prepel‘ition Agency Accounts and

 

 

 

[PROP()SED ORDER GRANTlNG EMERGENCY MOTION AUTHORIZING USE OF
CASH MA AGEMENT SYSTEM BANK ACCOUNTS AGENCY ACCOUNTS AND
BUSINESS FORMS AND WAIVlNG COMPLIANCE WITH INVESTMENT AND
DEP()SIT REQUIREMENTS

 

.[>

\IO`\U\

Case 18-16487-m|<n Doc 10 Entered 10/31/18 10:10:14 Page 14 of 17

(iv) Business For)ns,' and (2) Waivl'ng Co)npll`ance with the Investment and Deposit Req_uirements
of Seclz`on 345(b) of the Bankruptcy Code (the “MM”) having come before the Court for an
emergency hearing on the above captioned date and time (the “HLring”), with all appearances
having been noted on the record; and the Court having reviewed and considered the Motion, as
well as the O)nnibas Declaration QfKimberly Lamberty in Support of Debtor ’s First Day Motions
the Court having made its findings of fact and conclusions of law on the record at the Hearing,
which are incorporated herein pursuant to Fed. R. Civ. P. 52, made applicable pursuant to Fed. R.
Bankr. P. 7052 and 9014; it appearing that the relief requested is necessary to preserve the
Debtor’s ongoing operations and is in the best interest of the Debtor’s estate, creditors and all
parties-in-interest; and for good cause appearing

IT IS HEREBY ORDERED THAT:

1. The Motion is GRANTED as set forth herein.

2. Debtor is authorized and empowered to: (a) maintain its Cash Management System
land continue to use its Bank Accounts for all purposes as debtor in possession accounts (b) use, in
their present form, existing checks and other documents related to the Bank Accounts (defined
below); (c) pay post-petition ordinary course bank fees in connection with the Bank Accounts and
(d) perform their obligations under the documents and agreements governing the Bank Accounts

3. The Debtor is authorized and empowered to retain the prepetition Agency Accounts
set forth on Exhibit 2 to the Lamberty Declaration

4. Union Bank and Bank of America (collectively “Debtor’s Banks”), at which Debtor
maintains accounts (the “Bank Accounts”), are each authorized and directed to: (a) continue to
administer, service, and maintain the Bank Accounts as such accounts were administered, serviced,
and maintained prior to the Petition Date, without interruption and in the usual and ordinary course;
and (b) to pay any and all checks drafts wires automated clearinghouse transfers electronic fund

transfers or other items presented, issued, or drawn on the Bank Accounts (collectively, the

 

l Capitalized terms not otherwise defined in this Order have the meaning ascribed to them in the
underlying Motion.

2

 

 

 

[PROPOSED ORDER GRANTING EMERGENCY MOTION AUTHORIZING USE OF
CASH MA AGEMENT SYSTEM BANK ACCOUNTS AGENCY ACCOUNT AND
BUSINESS FORMS AND WAIVIl\lG COMPLIANCE WITH INVESTMENT AND
DEPOSIT REQUIREMENTS

 

10

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 18-16487-m|<n Doc 10 Entered 10/31/18 10:10:14 Page 15 of 17

“Debits”) on account of a claim arising on or after the Petition Date, so long as there are sufficient

collected funds in the relevant Bank Accounts and in accordance with merchant service agreements

if applicable
5. Except as otherwise permitted by an order of the Court, no Debits issued on the
Bank Accounts prior to, but presented after, the commencement of Debtor’s Chapter ll Case shall

be honored or paid, provided that Debtor issues a stop payment order in accordance with the terms
of the documents and agreements governing such Bank Accounts

6. Debtor shall promptly furnish to Debtor’s Banks a list of those Debits drawn or
issued in payment of prepetition claims the payment of which has been authorized by any order of
the Court, and stop payment orders for any prepetition Debits that it desires to be dishonored.
Debtor’s Banks are authorized and directed to rely on the representations of Debtor as to which
Debits are authorized to be honored and dishonored, whether or not such Debits are dated prior to,
on, or subsequent to the Petition Date, and whether or not Debtor’s Banks believe the payment is
authorized by an order of the Court.

7. Debtor’s Banks are authorized and directed to debit Debtor’s Bank Accounts in the
ordinary course of business for all Debits presented for payment or exchanged for cashier’s checks
prior to the commencement of this Chapter 11 Case. Debtor shall reimburse Debtor’s Banks for
any claim arising prior to or after the Petition Date in connection with Debits deposited with
Debtor’s Banks that have been dishonored or returned for insufficient funds in the applicable
accounts

8. Debtor’s Banks shall implement reasonable handling procedures to effectuate the
terms of this Order. No bank that implements such handling procedures will be liable to Debtor or
its estate, or otherwise held in violation of this Order for honoring a prepetition Debit or other
Debit: (a) at the direction of Debtor that such prepetition Debit or other Debit be honored; (b) in
the good faith belief that the Court has authorized that such prepetition Debit or other Debit be
honored; or (c) as a result of an innocent mistake made despite implementation of such handling

procedures

3
[PRoPosEl) oRDER GRANTING EMERGENCY MoTIoN AUTHoRIzING USE oF
CASH MA AGEMENT sYsTEM BANK ACCoUNTs AGENCY ACCoUNT AND
BUsINEss FoRMs AND wAIvI’NG CoMPLIANCE wer INvEsTMENT AND
DEPosIT REQUIREMENTS

 

 

 

Case 18-16487-m|<n Doc 10 Entered 10/31/18 10:10:14 Page 16 of 17

9. The relief, rights and responsibilities requested herein are deemed to apply to any

and all bank accounts maintained in Debtor’s name

10. To the extent any other order is entered directing a Bank to honor Debits made,
drawn, or issued in payment of prepetition claims the obligation to honor such items are subject to
this Order.

11. Debtor and Debtor’s Banks are authorized and directed to continue to perform
pursuant to the terms of any prepetition documents and agreements governing the Bank Accounts
except and to the extent otherwise directed by the terms of the Order. Debtor requests that Debtor’s
Banks are authorized to continue offsetting any funds deposited in the Bank Accounts by either
Debtor to the extent necessary to cover any fees charges and assessments (other than attorneys’
fees), set forth or provided for in the agreements governing the Bank Accounts or as otherwise
permitted in the ordinary course of business pursuant to the agreements governing the Bank
Accounts

12. Debtor and Debtor’s Banks are authorized and directed to perform their obligations
pursuant to the terms of the documents governing any corporate credit card program and processing
or servicing agreements between Debtor and Debtor’s Banks Debtor is authorized to do and
perform all acts to make, execute, and deliver all instruments and documents and to pay fees
charges and expenses which may be required or necessary for Debtor’s performance under any
corporate credit card program and processing or servicing agreement

13. Nothing in this Order prevents Debtor from closing any of the Bank Accounts as
they deem necessary and appropriate, as long as funds withdrawn therefrom are utilized only for
purpose consistent with the Court’s orders with respect to cash collateral and/or debtor-in-
possession financing and any budgets thereto.

14. Debtor is excepted from compliance with section 345 of the Bankruptcy Code.

15. The Debtor is authorized to maintain and use its existing business forms

4
[PROPOSED ORDER GRANTING EMERGENCY MOTION AUTHORIZING USE OF
CASH MA AGEMENT SYSTEM BANK ACCOUNTS AGENCY ACCOUNT AND
BUSINESS FORMS AND WAIVIZNG COMPLIANCE WITH INVESTMENT AND
DEPOSIT REQUIREMENTS

 

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 18-16487-m|<n Doc 10 Entered 10/31/18 10:10:14 Page 17 of 17

15. The Court retains jurisdiction regarding any issues or disputes arising under or
related to the interpretation or implementation of this Order.

17. A final hearing pursuant to Fed. R. Bankr. P. 4001(b) (the “Final Hearing”) will be
held on ______ at : .m. to determine the use of cash collateral during the pendency of this

Chapter ll case and all other relief sought by the Motion.

16. Any opposition to the final relief requested in the Motion shall be made in writing
and filed with the Court no later than fourteen days prior to the Final Hearing. Any such
opposition shall be served in accordance with Fed. R. Bankr. P. 2002. Any reply to any such

opposition shall be filed and served no later than seven days prior to the Final Hearing.

IT IS SO ORDERED.

Submitted by:

 

CANDACE C. CARLYON, ESQ.
Nevada Bar No. 2666

TRACY M. O’STEEN, ESQ.
Nevada Bar No. 10949

CLARK HILL PLLC

3800 Howard Hughes Parkway, Suite 500
Las Vegas NV 89169

Telephone: (702) 862-8300
Facsimile: (702) 862-8400
CCarlyon@ClarkHill.com
TOSteen@ClarkHill.com

[Pl’c)posed] C()L/nself()r Debfor
# # #

5

 

 

 

[PROPOSED ORDER GRANTING EMERGENCY MOTION AUTHORIZING USE OF
CASH MA AGEMENT SYSTEM BANK ACCOUNTS AGENCY ACCOUNT AND
BUSINESS FORMS AND WAIVI’NG COMPLIANCE WITH INVESTMENT AND
DEPOSIT REQUIREMENTS

 

